      Case 6:18-cv-00603-JR          Document 25     Filed 05/14/18    Page 1 of 5


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Plaintiffs Pro Se




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF OREGON
                                 Eugene Division

PAUL KWAKE, an individual,                  )      Case No. 6: 18-cv-603-JR
DANIEL CAMPBELL, an individual,             )
DOROTHY HAWLEY, an individual,              )
and                                         )
GARY ROMINE, an individual                  )
         Plaintiffs,                        )
                   ·V·                      )
                                            )
FARIBORZ PAKSERESHT, in his                 )      RESPONSE TO DEFENDANT
official capacity as Director of Human
                                            )      JODY N. CLINE'S
Services, State of Oregon; and
                                            )      MOTION TO DISMISS
ASHLEY CARSON-COTTINGHAM,
                                            )
in her official capacity as Director of
                                            )
Office of Aging and People with
                                            )
Disabilities, a division within the state   )
Department of
                                            )
Human Services, State of Oregon; and
                                            )
JODY N. CLINE, in her capacity as
                                            )
Director of Senior and Disability
                                            )
Services, a division within the Lane
                                            )
Council of Governments,
                                            )
                       Defendants.


1.    An Amended Complaint has been filed with the court that addresses the

arguments presented in her motion to dismiss, and Plaintiffs further address said

motion herewithin.

2.     Plaintiffs have filed a complaint seeking declaratory judgment against

defendant Jody N. Cline ("Cline").



Page 1of4 - RESPONSE TO DEFENDANT JODY N. CLINE'S MOTION TO DISMISS
      Case 6:18-cv-00603-JR        Document 25      Filed 05/14/18     Page 2 of 5




3.    A declaratory judgment is a "statutory method" that allows "a party to receive a

declaration of its rights when there is a justiciable controversy," even when the party

does not have right to any further relief. Beldt v. Leise, 185 Or App 572, 576, 60 P3d

1119 (2003). Cline has not presented any argument in her motion to dismiss that the

complaint does not present a justiciable controversy.

4.    Oregon, like most states, has adopted the Uniform Declaratory Judgments Act

("the Act''). See ORS 28.010-28.160. The Act is to be "liberally construed and

administered." ORS 28.120. The purpose of the Uniform Declaratory Judgments Act is

"to settle and to afford relief from uncertainty and insecurity with respect to rights,

status and other legal relations." ORS 28.120. "No action or proceeding shall be open

to objection on the ground that a declaratory judgment is prayed for." ORS 28.010.

5.    ORS 28.020 provides, in part: Any person ... whose rights, status or other legal

relations are affected by a constitution, statute, municipal charter, [or] ordinance ...

may have determined any question of construction or validity arising under any such .

. . constitution, statute, municipal charter, ordinance ... or franchise and obtain a

declaration of rights, status or other legal relations thereunder.

6.    The Amended Complaint also seeks injunctive relief specifically against Jody.

N. Cline in her official capacity as Director of Senior and Disability Services, a division

within the Lane Council of Governments by "ordering LCOG to remove Marcy

Yarbrough and Jordan Crowder from any further role involving any residents of Paul

Kwake's adult foster care homes."

7.     Defendant's Motion to Dismiss includes within it cited/quoted applicable

statutory verbiage, but there are parts omitted that are key in essentially rebutting

defendants arguments.



Page 2 of 4 - RESPONSE TO DEFENDANT JODY N. CLINE'S MOTION TO DISMISS
      Case 6:18-cv-00603-JR       Document 25       Filed 05/14/18    Page 3 of 5

8.      Specifically, throughout the text of the applicable statutes, it is worded

"Department 'and' and/or 'or' AAA local office staff' (emphasis mine). The

defendants, presumably for their benefit, omitted any use of "and and/or or AAA local

office staff', as that would, presumably, infer LCOG's involvement in the assessment

process, i.e., Jody Cline's direct responsibility of (employee) oversight and compliance

with federal mandates. DHS requires (LCOG) AAA's to have a type of quality

assurance policy in effect so as to be able to audit the agency it has charged with the

responsibility of administering program benefits.

9.    This is done because not all localities have an AAA as designated by/through

the Department, and so Department can be synonymous with AAA.

10.   Defendants leave out citation of OAR XXX-XX-XXXX, which significantly provides:

(2) Payment Basis .. (e) An individual's progress is monitored by Department or AAA

local office staff. When a change occurs in the individual's service needs that may

warrant a change in the service payment rate, staff must update the service plan."

and, more importantly, section (3) Service Payments. All service payments must be

prior authorized by the Department or AAA local office staff .. (a) Department and

AAA CASE MANAGERS authorize service payments from the rate schedule based

on an individual's service program and ASSESSED need for services documented in

CA/PS (emphasis and underlining mine).

11.    Provided within OAR XXX-XX-XXXX, titled Exceptions to Payment Limitations in

Home and Community-Based Services, defendants left out sub-section 2) "Service

payment exceptions shall be based on the additional hours of services required to meet

the individual's assessed and verified ADL and IADL service needs ... The Department

AND AAA LOCAL OFFICE STAFF MUST MONITOR THE INDIVIDUAL SERVICE



Page 3 of 4 - RESPONSE TO DEFENDANT JODY N. CLINE'S MOTION TO DISMISS
              Case 6:18-cv-00603-JR        Document 25       Filed 05/14/18     Page 4 of 5



        NEEDS AND RECOMMEND ADJUSTMENTS TO THE PLAN WHEN

        APPROPRIATE (emphasis mine).

        12.    Section 3) provides further: "Service payment exceptions in AFR (Adult Foster

        Homes) ... may be authorized only for individual service needs THAT ARE NOT PAID

        FOR BY THE BASE RATE OR ANY OF THE THREE AVAILABLE ADD-ON

        PAYMENTS. This shows that exceptions payments are to provide for individual

        service needs that are outside of the payment limitations as established by DRS.

        13.     The above cited relevant and applicable sections and subsections are pertinent

        to the interpretation of the statute and its application to the Department's designated

        agency (if any), and, by leaving it out, defendants have essentially removed AAA' s (or

        in this case, LCOG' s) involvement and responsibilities in determining the needs of

        each of Paul Kwake's residents-which is what any exception payment would be based

        on.

        14.   Specifically, on page 5 of the defendant's Motion to Dismiss, OAR 411-027-0050

        is quoted, but again, not in its entirety. Section (7) provides in part: "All individual

        exceptions to the assessed service need determination... by the Department's APD

        Central Office. Then, sub-section (a) additionally provides: "The Department and AAA

        local office staff SHALL approve requests for payment exception BEFORE they are

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l.l•.




        transmitted to the Department's APD Central Office. (b) Locally approved requests for

        payment exception must be sent to the Department's APD Central Office ... " (emphasis

        mine). This shows that local AAA office staff CAN approve and/or deny exceptions

        requests, i.e., LCOG is directly involved in the approval/denial process.



        Dated9May2018                        ~~  PaUIKwake~PailltiffPrOSe

        Page 4 of 4 - RESPONSE TO DEFENDANT JODY N. CLINE'S MOTION TO DISMISS
              Case 6:18-cv-00603-JR       Document 25        Filed 05/14/18    Page 5 of 5

Case 6:18- cv-00603 - JR    Document 15    Fikd 05/08/2018     Page 20 of 20



                                    CERTIFICATE QF SERVICE


           I hereby ce1iify that on 05-14-2018, I madelservice ofth1 following document:

           RESPONSE TO DEFENDAl'JT: JODY N. f=LINES MC l'ION TO DISl\!ilSS

           By placing a copy in a first class postage p*d envelope i 1 Eugene, OR for delivery

           By U.S. Mail to the address set forth below~




            Christina Beatty Walters

            Department of Justice

            Council for: Ashley Carson Cunningham



            Department of Justice
            100 SW Market Street
            Portland, OR 97201




                                                                Pau Kwake
                                                                186 1i 11 Street #C
                                                                Spr 1gfield. OR 97477
